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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               (NORTHERN DIVISION)

DOREEN HENRY                                 *

       Plaintiff,                            *
                                                     Case No.: 1:23-cv-01285-SAG
v.                                           *

TERRANCE HALL, ET AL.                        *

       Defendants.                           *

*      *        *      *      *       *      *       *      *       *      *          *   *

              PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT
                           TO ADD NECESSARY PARTY

       Plaintiff Doreen Henry (“Plaintiff” or “Ms. Henry”), by and through her undersigned

counsel and pursuant to Federal Rule of Civil Procedure 15(a)(2) and L.R. 103.6, hereby files this

Motion for Leave to Amend its Complaint to Add a Necessary Party and, in support, states as

follows:

       1.       This action arises out of Defendants Terrance Hall’s (“Mr. Hall”) and Lisa Hall’s

(“Mrs. Hall”) (collectively, “Defendants”) fraudulent conduct in falsely reporting to the Register

of Wills and Orphans’ Court for Baltimore City, Maryland that Mr. Hall was the only son and heir

of Elvira Hall (“Elvira”), the decedent, despite obviously knowing of his own two siblings

(Plaintiff and Roger Kerr (“Mr. Kerr”)), both of whom were direct lineal descendants of Elvira.

Mr. Hall submitted an Estate Petition with the assistance and encouragement of Mrs. Hall and, as

a result, received the entire sum of Elvira’s Estate in the amount of $170,225,83 on or about

September 3, 2020, which he never thereafter disclosed to Plaintiff or to Mr. Kerr.




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          2.       As a result of Defendants’ misconduct, on or about May 16, 2023, Ms. Henry filed

a five-count Complaint against Defendants alleging Count I: Fraud (Against All Defendants);

Count II: Constructive Trust (Against All Defendants); Count III: Breach of Fiduciary Duty

(Against Defendant Terrance Hall); Count IV: Civil Conspiracy (Against All Defendants); and

Count V: Aiding and Abetting (Against Defendant Lisa Hall). ECF No. 1.

          3.       In the Complaint, Plaintiff has alleged damages in excess of $75,000.00. The

damages claimed are suffered by both Plaintiff and her sibling, Mr. Kerr, as neither Plaintiff nor

Mr. Kerr received any portion from the Estate of Elvira due to Defendants’ fraudulent

representations, act, and omissions.

          4.       Thus, for the Court to fashion complete and proper relief concerning the funds

wrongfully obtained and held by Defendant, Plaintiff requests that Mr. Kerr, a direct heir of Elvira

and the sibling of Ms. Henry and Mr. Hall, be added as a party-Plaintiff in the above-captioned

matter.

          5.       Pursuant to this Court’s Scheduling Order dated April 22, 2024 (ECF No. 28), the

Court did not set a deadline regarding the amendment of pleadings. Nevertheless, as this Court is

well aware, “[t]he Court should freely give leave when justice so requires.” FED. R. CIV. P.

15(a)(2).

          6.       Justice requires that Mr. Kerr be added as a party-Plaintiff to allow for complete

relief concerning the funds wrongfully obtained and withheld by Defendants.

          7.       In anticipation of the filing of this motion, Plaintiff has attached the First Amended

Complaint as Exhibit 1. Further, Plaintiff has attached a redlined version of the First Amended

Complaint as Exhibit 2.




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       8.       On or about April 2, 2024, Plaintiff requested the position of Defendants regarding

the filing of this Motion. See Exhibit 3 (Letter from V. Mina to T. Hall and L. Hall dated April 2,

2024). Thereafter, on or about April 9, 2024, in response to Plaintiff’s correspondence, the

undersigned communicated with the pro se Defendants pursuant to L.R. 103.6(d) via telephone

call, who advised that they did not consent to the filing of this Motion.

       9.       No party will be prejudiced by the granting of this Motion as the requested relief

remains the same and the causes of actions remain the same. Instead, Plaintiff will be prejudiced

should this Motion not be granted to the extent that the funds from the Estate of Elvira, which

remain in the wrongful possession of Defendants, are not fully returned to the Estate and subject

to proper distribution amongst all of Elvira’s heirs.

       WHEREFORE, Plaintiff Doreen Henry, respectfully requests this Court grant this Motion,

which permits Plaintiff to amend its Complaint to add a necessary party in this matter.



Date: May 16, 2024                            /s/ Jonathan P. Kagan
                                              Jonathan P. Kagan (D. Md. Bar No. 23181)
                                              kagan@kaganstern.com

                                              /s/ Veronica J. Mina
                                              Veronica J. Mina (D. Md. Bar No. 30472)
                                              mina@kaganstern.com

                                              /s/ Michael J. Marinello           ______
                                              Michael J. Marinello (D. Md. Bar No. 18490)
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                                              Counsel for Plaintiff
                                              Doreen Henry


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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 16th day of May, 2024, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF filing system and served via email

and first-class mail, postage prepaid, to the following:

                               Mr. Terrance Hall
                               Mrs. Lisa Hall
                               7621 Wilhelm Avenue
                               Baltimore, MD 21237
                               Email: Ross_c1933@yahoo.com

                               Pro-Se Defendants



                                              /s/ Veronica J. Mina
                                              Veronica J. Mina (D. Md. Bar No. 30472)




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